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                         THE UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF COLUMBIA

                                                       )
  SHORELIGHT, LLC                                      )
                                                       )
                         Plaintiff,                    )
                                                       )
                          v.                           )   Case No. 1:22-CV-02878
                                                       )
                                                       )
  UNITED STATES DEPARTMENT OF                          )
  STATE                                                )
                                                       )
                         Defendant.                    )
                                                       )

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties, by undersigned

counsel, hereby stipulate and agree to dismiss this action with prejudice, with each party to bear its

own costs, attorney fees, and expenses.

                                                       Respectfully submitted,


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